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EXHIBIT 3
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DAVID MUNIZ and CATHY MUNIZ,
Plaintiffs,
v.
SILVIA VITIELLO and AIR BNB,

Defendants

 

 

IN THE COURT OF COMMON PLEAS
OF MONROE COUNTY,
PENNSYLVANIA

Civil Action No.

NOTICE OF FILING OF REMOVAL

PLEASE TAKE NOTICE that Defendant Airbnb, Inc. , by and through its undersigned

counsel, has filed a Notice of Removal in the United States Diastrict Court of the Middle District

of Pennsylvania, [insert] Division, thus effecting removal of this case to the District in

accordance with 28 U.S.C. § 1446(d). A copy of the Notice of Removal is attached hereto as

Exhibit A.

PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1446, the filing of

the Notice of Removal in the United States District Court for the Middle District of

Pennsylvania, __ Division, together with the filing of that Notice with the Prothonotary of this

Court, effects the removal of the above-captioned case to the District Court, and this Court may

proceed no further unless and until the case is remanded.
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PLEASE TAKE FURTHER NOTICE that the Prothonotary of this Court is requested to

promptly deliver to the Clerk of the Court of the United States District Court for the Middle

District of Pennsylvania all papers now in the original Court file.

Dated: May 18, 2023 Respectfully submitted,

BABST, CALLAND CLEMENTS AND
ZOMNIR, P.C.

By: /s/ Christina Manfredi McKinley

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